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J. Crisman Palmer and GPNA

American Zurich Ins. Co. and Zurich American Ins. Co. v.

 

Paris Glazer
October 5, 2022

 

Audrey M. Barbush, RPR
audrey@paramountreporting.com
605.321.3539

FR paramount
reporting

 

 

EXHIBIT

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1 goofy how this was pled because the contracts at issue 1 identified were applicable in this case, correct?
2 were only between certain Zurich entities, and it was 2 A_ That is correct.
3 just odd that that hadn't gotten fettered out earlier 3 Q Will you please look at Exhibit --
4 as to what Zurich entities were actually involved in 4 A CanJTamend that for one second? I would say that is
5 this from a contractual perspective. 5 correct except, you know, in discovery, as you pointed
6 Q Let meask you this: Based upon your work in defending 6 out, there was a -- there was an ongoing dispute, and
7 the case for two years, did you believe that at 7 depending on how high up in the chain of command or
8 least -- well, I'll withdraw the question and reask it 8 whatever Abourezk was trying to seek depositions from
9 differently. 9 people, I think the issue of, you know, what Zurich
10 Would you agree with me that one of the 10 entities were proper parties would have mattered.
11 defendants, at least one, was a proper party defendant 11 Depending on, you know, if Abourezk wanted to get a
12 in this bad faith case? 12 sea-level deposition from somebody at an entity that
13 A_ [believe so, yes. I just can't remember which of 13 wasn't even supposed to be involved in this case, I
14 them. And I think that there were other answers or 14 think that would have been an issue.
15 discovery responses that I did in which I said, you 15 Q_ Do you recall that ever being a specific issue here?
16 know, I'm answering on behalf of whatever we thought 16 A_ [can't recall. But I remember apex discovery being a
17 the proper defendant was, but to the extent, you know, 17 specific issue here.
18 answers are needed on behalf of these other defendants, 18 Q What do you mean by "apex discovery"?
19 you can deem them to be on behalf of them as well. 19 A Abourezk wanting to get higher-level depositions from
20 Q_ Did you have any information during your time defending 20 people higher up in the chain of command at Zurich in a
21 Zurich that that proper party defendant did not have 21 manner that I thought was, you know, harassing and,
22 the resources to pay whatever judgment was levied 22 you know, unnecessary. But, you know, he was very
23 against it? 23 interested in getting, you know, information about
24 A_ [don't remember ever being concerned about that. 24 different people who were very far removed from the
25 Q_ So asa practical matter, although the judgment may 25 primary claims handling responsibility for this claim.
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1 have been against three entities versus one, when it 1 Q As you sit here, do you have any knowledge that the
2 comes back to the check being written, does the 2 identification of Zurich North America as a defendant,
3 existence of an improper -- or additionally pled 3 being a trade name, had any impact on whether those
4 plaintiffs make any difference? 4 depositions were going to proceed or not?
5 MR. HOYT: Objection. Calls for legal conclusion, 5 A_ [can't say one way or the other specific to that.
6 incomplete, calls for speculation. 6 Q_ What you do know, though, is that Attorney Abourezk
7 THE WITNESS: Yeah. So subject to that objection, 7 was -- and the courts in South Dakota were giving him
8 as I sit here today, I can't remember exactly what 8 very broad scope of discovery in this case, weren't
9 significance there was. But I will say, as a general 9 they?
10 matter, you know, when you have different affiliates 10 MR. HOYT: Objection. That assumes facts not
11 within an insurance company family, it can be important 11 established. Lack of foundation.
12 to keep the affiliates separate in terms of discovery 12 THE WITNESS: I would say that in this case,
13 issues and in terms of -- you know, if you had, like, 13 subject to that objection, the scope of discovery
14 regulatory issues in terms of some -- an affiliate who 14 seemed very broad, to me, that he was being allowed to
15 shouldn't be involved now having to report that it was 15 pursue.
16 involved in a bad faith case even though it wasn't, you 16 BY MR. SUTTON:
17 know, involved with that, then, you know, with 17 Q_ And you were the primary lawyer within the Hinshaw firm
18 different insurance companies buying and selling 18 that was responsible for responding to the written
19 different affiliates and divisions and such, you know, 19 discovery, weren't you?
20 it's -- it's not some pedantic thing. I can't remember 20 A Yeah. I mean, I had some help from, like, a junior
21 what the significance of it is to this case. But, you 21 associate, but when it came down to, you know, issuing
22 know, it's something | think is important. 22 the answers and, you know, working with Abourezk to
23 BY MR. SUTTON: 23 have meet-and-confers, and | did this whole sort of
24 Q Andas you sit here today, you don't recall one way or 24 alternative meet-and-confer thing, yeah, you know, I
25 the other whether any of those concerns that you just 25 was primary.

 

 

 

 

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1A Yep. 1 MR. SUTTON: Now is the perfect time for a break.
2 Q There is an entry, August 30, 2018, for you in the 2 MR. HOYT: Just five minutes is fine for me,
3 amount -- or for 2.6 hours, which says, quote, 3 unless you want to take more.
4 "Research alternative local counsel in South Dakota 4 MR. SUTTON: No. I'm -- unless Audrey or Paris
5 using Lex Machina and PACER (researched approximately 5 needs more -- we're off the record.
6 17 firms, approximately 45 pages)," 6 (Recess taken from 12:50 p.m. to 12:58 p.m.)
7 Did I read that entry correctly? 7 BY MR. SUTTON:
8 A Correct. 8 Q. Okay. Paris, we're back on the record. Will you
9 Q. What is Lex Machina? 9 please look at Exhibit 62.
10 A_ It was, like, a LexisNexis product that's available 10 A_ I'm looking at Exhibit 62, which says it's a report and

 

11 that allows you to, like, look up cases by, like, law 11 a recommendation regarding defendants' motion to
12 firm, and you can, like, look at judges, and it 12 dismiss.
13 purports to give you, like, a breakdown of, you know, 13 Q_ And you've reviewed this document previously, although
14 what percentage of their cases are employment law cases 14 maybe not in preparation for your deposition; is that
15 versus what percentage of their cases are construction 15 right?
16 law or insurance law. 16 A Yeah, | reviewed this document in the course of my
17 Q. And assume you have no personal knowledge about the 17 representation of Zurich in this case, but I don't
18 validity of any of that information as it relates to 18 believe I looked at this in preparation for my
19 South Dakota law firms. 19 deposition today.
20 A Correct. 20 Q > And do you understand that this is the report and
21 MR. HOYT: Can we take a short break, Jason? 21 recommendation issued by Magistrate Judge Wollmann
22 MR. SUTTON: Yeah. If you give me two minutes, 22 denying the motion to dismiss based on failure to
23 I'll be done with this exhibit, and then I don't have 23 exhaust?
24 to remember where I stopped, if that's okay. 24 A_ 1 believe so, yes.
25 MR. HOYT: Sounds good. That's fine. 25 Q. And will you please turn to page 9 of Exhibit 62.
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1 BY MR. SUTTON: 1 Looking at the last sentence of the paragraph
2 Q_ Do you, Paris, recall what, in August of 2018, caused 2 above the little 11, did Judge -- Magistrate Judge
3 you to start researching alternative local counsel? 3 Wollmann write, quote, "Therefore, the 2013 Settlement
4 A [believe at some point around that time there had been 4 Agreement constituted the final stages of the
5 a discussion with Dawn about potentially getting 5 administrative process, as such, Leichtnam exhausted
6 somebody else involved besides the Gunderson Palmer 6 his administrative remedies and this court has proper
7 firm, but I can't really remember the specifics of it. 7 jurisdiction"?
8 But, you know, I know that I started looking into 8 Is that what she wrote?
9 different firms around the time that that discussion 9 A That's what appears in the order, so that would have

10 had happened with Dawn. 10 been, yeah, what she wrote or her clerk and she

11 Q_ And at least as part of your entry in your time sheet, 11 approved it.

12 there were |7 law firms in the state that you reviewed 12 Q_ Will you please turn to page 13 of Exhibit 62.

13 information based on; is that right? 13 A_ I'mthere.

14 A Yeah, or 17 hits came up and then they had, you know, 14 Q On the Notice to Parties, there's an indication that

15 varying amounts of information for each one. 15 either party can file objections to the report and

16 Q Do you know why the decision .was made not to remove 16 recommendation issued by Magistrate Judge Wollmann; is
17 Gunderson Palmer as local counsel at that time? 17 that right?

18 A No. 18 A That's right.

19 Q Whose decision was that? 19 Q_ And did you understand that if objections were filed,
20 A_ [think that would have been Dawn's decision. It 20 because this was a legal issue, the District Court

21 certainly wasn't my decision. 21 Judge Viken would review the issue de novo?

22 Q_ Did you make any recommendations, that you recall? 22 A_ [can't remember what the standard of review by the
23 A_ [think I made -- I provided -- | remember providing 23 district judge was for this. Oh, but I guess I'm

24 Dawn some potential names for new firms, if that's what 24 reading it right here. It says "Objections must be

25 they were interested in. 25 timely and specific in order to require de novo review

 

 

 

 

 

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1 by the District Court." 1 THE WITNESS: | have Exhibit 107 in front of me,
2 So now that I'm reading that, yes. 2 Jason.
3 Q You beat me to my next question. 3 BY MR. SUTTON:
4 Do you recall that Zurich did, in fact, file 4 Q Thank you, Paris. [ was trying to -- I'm juggling too
5 objections to this report and recommendation? 5 much paper.
6 A_ [can't actually remember whether we did, but -- 6 On Exhibit 107, will you please turn to Zurich
7 Q Look at Exhibit 50. 7 (4718. And --
8 A Exhibit 50. Yep. 8A Yep.
9 Q On Exhibit 50, if you look at -- actually, we have to 9 Q_ -- there's a timekeeper entry for Joshua Vincent on
10 start by looking at 62 and then refer to 50. 10 September 6, 2019, Do you see that entry?
11 So in 62, what is the docket number at the top of 11 A Yes.
12 that -- 12 Q Can you tell me who Mr. Vincent is?
13 A Document 120. 13 A Yeah. He is a very experienced appellate court
14 QQ. Okay. So then if you look at Exhibit 50, on Docket 14 attorney in our firm.
15 Entry Number 126 on page 14 -- 15 Q As part of your defense of Zurich in the bad faith
16 A_Isee that, yep. 9-26, "Objection to Report and 16 case, I'm gathering you consulted with Mr. Vincent to
17 Recommendation by American Zurich Insurance Company," 17 evaluate potential appellate issues. Is that right?
18 filed 9-26-2019. 18 A Yeah. I can't remember specifically, but, I mean, I'm
19 Q And look at, from Docket Number 126 through 144, which 19 seeing his name right here, and that -- that certainly
20 is ultimately the dismissal of the case after the 20 would be consistent with my practice, to reach out to
21 judgment, I want you to confirm for me that the 21 Josh about questions like that.
22 district court never ruled on that objection to the 22 Q_ Do you recall -- or does the review of Exhibit 107
23 report and recommendation before the case was settled. 23 refresh your recollection of whether there was
24 A | mean, it's a little hard for me to quickly read all 24 discussion with -- amongst your defense team about
25 this, but I don't remember a ruling on the objections; 25 whether to seek a interlocutory appeal of
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1 and if there was one, I assume it would be -- that 1 Judge Wollmann's decisions?
2 would appear on this docket, which is marked as 2 A I just can't remember one way or the other, you know,
3 Exhibit 50. 3 what we discussed or didn't discuss in that regard, I
4 Q And I'd represent to you, Paris, I mean, it didn't 4 mean, it would be probably a reasonable thing to
5 happen. So it was still pending at the time that the 5 discuss, but I just can't remember, you know, any
6 Leichtnam bad faith case was settled. 6 specifics of it.
7 Do you recall forming any opinions regarding your 7 Q Now, the motion to dismiss that was denied by
8 belief of the likelihood of success that Judge Viken 8 Magistrate Judge Wollmann, we've talked that there was
9 would overrule the report and recommendations denying 9 an appeal -- or objections to that report and
10 the motion to dismiss? 10 recommendation that were pending as part of the
11 A_ [don't remember forming any opinions on that 11 settlement, but I want to talk through with you some
12 likelihood. 12 other avenues that may have existed for further review
13 Q_ Did you ever have any -- do you recall having any 13 of that decision.
14 discussions with Dawn Wagner at Zurich about whether 14 Based upon your work in handling other cases, do
15 Zurich should wait for Judge Viken to mile on those 15 you agree that if Zurich would have gone to trial and
16 objections before settling the case? 16 it was not successful at trial, that it could have
17 A_ I don't remember one way or the other. 17 appealed Judge Viken's decision on the motion to
18 Q_ Will you please look at Exhibit 107. That was in the 18 dismiss and the objections to the Eighth Circuit?
19 group sent yesterday. 19 A_ Like, appeal as a matter of right after a final
20 A Exhibit 107, Give me a minute. 20 decision, yes.
21Q Yep. 21 Q_ Say it again, please, Paris.
22 MS. MONDSCHEAN: That was yesterday -- 22 A_ Sorry. Appeal as a matter of right after a final
23 THE WITNESS: Yes. 23 decision, yes.
24 MS. MONDSCHEAN: Yesterday's, Jason? 24 Q > Additionally, do you understand that there are
25 MR. SUTTON: Yes. Correct. 25 mechanisms that exist in the law that may allow for a

 

 

 

 

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1 don't have the exhibit number off the top of my head. 1 Q > Would it be significant in a jury trial if more than
2 But, yeah, there was a -- you know, a balance and 2 one entity were named and there was an admission that
3 a tension in this case with the fact that, you know, 3 they had aided and abetted in the wrongful conduct with
4 there was this body of case law in South Dakota that 4 each other?
5 Abourezk was relying on to demand just extremely broad 5 MR. SUTTON: Objection. It's compound.
6 discovery from Zurich, and his discovery requests were 6 THE WITNESS: You know, again, it's hard --
7 very hard to comply with for a number of reasons. And 7 MR. SUTTON: Also foundation. Sorry.
8 so you had to sort of negotiate with him and be mindful 8 THE WITNESS: It's hard -- I've never -- I've
9 of his attitudes when you were propounding discovery to 9 never tried a jury trial, so it's hard for me to say.
10 him, because if you pushed in an uncomfortable manner, 10 But, you know, now that you mentioned it, one thing I
11 then he might push back even harder on you. 11 remember from my punitive damages days -- which is
12 Q_ From what you saw in the file, had there been any 12 something I had to, unfortunately, think about more
13 attempt whatsoever by Palmer to get documents before -- 13 than most attomeys -- is when you're facing punitive
14 either before Abourezk moved for documents or made 14 damages, sometimes the assets or, you know, dollar
15 motions? 15 value of the company can be put up by the plaintiff's
16 A_ I don't remember -- well, | do remember I issued 16 attomey, and then the jury can take that into account
17 written discovery to Abourezk, and I think those were 17 when they are assessing punitive damages.
18 the first sets that had gone to him, I mean, beyond 18 So from that perspective, it actually can be
19 what you would -- one would produce as an initial 19 pretty nice to have a case pared down so that you're
20 disclosure in the, you know, the -- what is it, Rule 26 20 not putting up in front of a jury the assets of, like,
21 initial disclosures in federal court? 21 two companies or three companies. You're just putting
22 Q_ Did you see any effort to notice the plaintiff's 22 up, you know, the assets of one.
23 deposition before Mr. Abourezk started making motions 23 MR. HOYT: That's all I have. Thank you.
24 to compel? 24
25 A_ [can't remember one way or the other. 25
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1 Q_ Did you have any communications with Mr. Fuller, 1 FURTHER EXAMINATION
2 Bill Fuller, about your motion to dismiss or the 2 BY MR. SUTTON:
3 defenses that were raised in the proposed amendment? 3 Q Paris, I have a couple of follow-ups. I want to start
4 A I generally remember that at some point there was a 4 where you just stopped.
5 conversation with Bill Fuller, maybe even more than 5 In this case, do you know whether the inclusion of
6 one, in connection with our defense of Zurich, and I 6 Zurich North America as a trade name, not a separate
7 think it also had to do with the motion to dismiss, 7 entity, would have resulted in a larger amount of
8 but, like, because it's been such a long time, I just 8 assets being shown to the jury at punitive damages.
9 can't remember when or the specifics of it. 9 I don't know one way or the other as I'm sitting here
10 Q_ Do you recall him telling you that he felt like those 10 right now. Yeah.
11 defenses lacked merit or had no chance of success? 11 And it would be nothing but speculation, from your
12 A_ No, I don't remember him saying anything like that. I 12 perspective, that that was actually a concern in this
13 think that would be something that might stick out to 13 case at this time, correct?
14 me, especially coming from, you know, out of state. 14 I don't know if I'd use the term "speculation," but I'm
15 Q_ Did you -- did Palmer ever tell you -- give you that 15 just sort of listing out, you know, considerations from
16 opinion, that he felt like the motion to dismiss or the 16 a generalist perspective, you know.
17 affirmative defenses lacked merit? 17 And that's fair. | mean, these are -- you're
18 A Again, | don't remember that happening. I think it 18 identifying potential problems without linking those
19 would be something that would stick out to me, again, 19 problems to this specific case, correct?
20 for that similar reason, you know, especially coming as 20 MR. HOYT: Object. That mischaracterizes.
21 an out-of-state attorney. 21 THE WITNESS: Yeah. I mean, I've linked them --
22 Q You were asked about what impact, if any, it would have 22 I've linked general considerations to this specific
23 that the wrong Zurich entity was named. Do you recall 23 case, but I haven't, like, sat here and said, oh, this
24 that? 24 definitely would have happened or this wouldn't have
25 A_ Ido, yep. 25 happened or this definitely would have been important

 

 

 

 

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